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                                UNITED STATES DISTRICT COURT
6                              WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
7

8    UNITED STATES OF AMERICA,

9                               Plaintiff,                 CASE NO. 20-158-RSL

             v.                                            DETENTION ORDER
10

11   CESAR CRUZ,

12                              Defendant.

13          The Court conducted a detention hearing under 18 U.S.C. § 3142(f) and finds there are no

14   conditions which the defendant can meet which would reasonably assure the defendant’s

15   appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          Defendant is charged with Distribution of Methamphetamine and Possession of

18   Controlled Substances with Intent to Distribute. The charges carry a presumption of detention

19   which the Court finds defendant has failed to overcome. In defendant’s favor are a lack of

20   criminal history and ties to the community and family support. However, the government

21   proffered information that establish the case against defendant is strong, the charges involved

22   extensive criminal activity over an extended period of time and that at least several family

23   members have either turned a blind eye to defendant’s alleged criminal activities or have assisted

     him in some way.


     DETENTION ORDER - 1
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1           The government proffered evidence defendant has engaged in large scale drug trafficking

2    since at least 2018. He is allegedly a source and distributor of controlled substances to criminal

3    gangs, travels to California to obtain drugs and also provides guns in exchange for drugs. Over

4    the last two years defendant has purchased 26 firearms, four of which were located at his

5    residence when searched. Law enforcement discovered several of the firearms defendant

6    purchased were used in crimes, shortly after purchase, in California, Mexico and Western

7    Washington.

8           Law enforcement originally began investigating defendant with the aid of a confidential

9    informant (CI). However, the allegations also involve evidence obtained directly by law

10   enforcement officers. A law enforcement officer purchased a substantial amount of controlled

11   substances directly from defendant; defendant’s his travels to California were tracked via a GPS

12   tracking device; Law enforcement stopped defendant on one of his trips as he returned from

13   California and discovered a substantial amount of controlled substances in his car. Further law

14   enforcement stopped defendant this year as he was on his way to California and discovered

15   $124,000 in cash is his car. When arrested this October, defendant had $27,000 in cash and four

16   firearms. Although defendant has not worked for several years, he has now on more than one

17   occasion possessed substantial amount of cash.

18          Having considered the nature of the offense, the severity of offense and strength of the

19   evidence, and defendant’s ties to the community and personal characteristics, the Court

20   concludes defendant poses a risk to the community and should be detained.

21          It is therefore ORDERED:

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     DETENTION ORDER - 2
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1           (1)     Defendant shall be detained pending trial and committed to the custody of the

2    Attorney General for confinement in a correctional facility separate, to the extent practicable,

3    from persons awaiting or serving sentences, or being held in custody pending appeal;

4           (2)     Defendant shall be afforded reasonable opportunity for private consultation with

5    counsel;

6           (3)     On order of a court of the United States or on request of an attorney for the

7    Government, the person in charge of the correctional facility in which Defendant is confined

8    shall deliver the defendant to a United States Marshal for the purpose of an appearance in

9    connection with a court proceeding; and

10          (4)     The Clerk shall provide copies of this order to all counsel, the United States

11   Marshal, and to the United States Probation and Pretrial Services Officer.

12          DATED this 7th day of October, 2020

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14                                                                        A
                                                           BRIAN A. TSUCHIDA
15                                                         Chief United States Magistrate Judge

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     DETENTION ORDER - 3
